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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION


  UNITED STATES OF AMERICA,                 CR 19-40033-KES

                      Plaintiff,
                                            PLEA AGREEMENT
        vs.

  CALVIN W. PELICHET,
  a/k/a CALVIN W. PELLICHET,

                      Defendant.



      Defendant Calvin W. Pelichet, a/k/a Calvin W. Pellichet, the Defendants'

attorney, and the United States Attorney for the District of South Dakota hereby

submit the following Plea Agreement to the United States District Court, which

Agreement was reached pursuant to discussions between the United States

Attorney and the Defendant's attorney. The Agreement is as follows:

      A.      ACKNOWLEDGMENT           AND     WAIVER       OF     RIGHTS      AND

UNDERSTANDING OF MAXIMUM PENALTIES: The Defendant agrees that he

has been fully advised of the statutory and constitutional rights herein, and that

he has been informed of the charges and allegations against him and the

penalties therefor, and that he understands the same. The Defendant further

agrees that he understands that by entering a plea of guilty as set forth hereafter,

he will be waiving certain statutory and constitutional rights to which he is

otherwise entitled.
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       B.    PLEA AGREEMENT PROCEDURE - NO RIGHT TO WITHDRAW

 PLEA IF COURT REJECTS RECOMMENDATION: The United States and the

 Defendant agree that this Plea Agreement is presented to the Court pursuant to

 Rules ll(c)(l)(A) and (B) of the Federal Rules of Criminal Procedure, which,

 among other things, authorize the United States to move for dismissal of other

 charges and to make recommendations or agree not to oppose the Defendant's

 request for a particular sentence. Such agreements and recommendations are

 not binding on the Court, and the Defendant may not withdraw his plea of guilty

 if the Court rejects them.

       C.    PLEA OF GUILTY TO CHARGES & DISMISSAL OF OTHER

 CHARGES: Defendant will plead guilty to Count 2 of the Indictment in this case,

 charging him with Wire Fraud, in violation of 18 U.S.C. § 1343. Wire Fraud

 carries the maximum penalties of 20 years in prison, a $250,000 fine, or both,

 and a period of supervised release of 3 years.   If Defendant is found to have

 violated a condition of supervised release, he may be incarcerated for an

 additional term of up to 2 years on any such revocation.      Defendant will be

 ordered to pay restitution and a $100.00 special assessment to the victims'

 assistance fund, and forfeiture may also be ordered.

       Upon acceptance of the plea by the Court and the imposition of sentence,

 this section shall be treated as a motion to dismiss the remaining counts in the

 Indictment as they pertain to the Defendant pursuant to the terms of this Plea

Agreement.




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       D.    VIOLATION OF TERMS AND CONDITIONS:                   The Defendant

 acknowledges and understands that if he violates the terms of this Plea

 Agreement, engages in any further criminal activity, or fails to appear for

 sentencing, this Plea Agreement shall become voidable at the discretion of the

 United States and the Defendant will face the following consequences:

       (1)   All testimony and other information the Defendant has provided at

 any time to attorneys, employees, or law enforcement officers of the United

 States, to the Court, or to the federal grand jury may and will be used against

 him in any prosecution or proceeding.

       (2)   The United States will be entitled to reinstate previously dismissed

 charges and/ or pursue additional charges against the Defendant, and to use any

 information obtained directly or indirectly from him in those additional

 prosecutions.

       (3)   The United States will be released from any obligations, agreements,

 or restrictions imposed upon it under this Plea Agreement.

       E.    ACCEPTANCE OF RESPONSIBILITY:             The United States agrees

 that based upon the information known to it at this time, Defendant is entitled

 to a two-level decrease in his offense level pursuant to U.S.S .G. § 3El. l(a),

 provided no evidence is disclosed in the presentence report which indicates he

 has not demonstrated a recognition and affirmative acceptance of personal

 responsibility for his criminal conduct, and further provided he:   (1) complies

 with the terms of this Plea Agreement; (2) testifies truthfully during the change

 of plea hearing; (3) participates truthfully with the Probation Office in the



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 presentence investigation; (4) does not violate any conditions of pretrial detention

 or release after he signs this agreement; and (5) continues to exhibit conduct

 consistent with acceptance of responsibility.    Both the United States and the

 Defendant otherwise reserve the right to present evidence and make argument

 regarding sentencing.

       F.     TIMELY ACCEPTANCE OF RESPONSIBILITY: The United States

 agrees that Defendant has timely notified authorities of his intention to enter a

 plea of guilty thereby permitting the United States and the Court to allocate their

 resources efficiently.   Therefore, if the offense level determined prior to the

 operation ofU.S.S.G. § 3El.l(a) is level 16 or greater and Defendant qualifies for

 a two-level decrease under U.S.S.G. § 3El.l(a), this provision shall be treated at

 the sentencing hearing as a motion pursuant to U.S.S.G. § 3El.l(b) to decrease

 the offense level by one additional level.

       G.     RECOMMENDATION REGARDING SENTENCE - WITHIN THE

 GUIDELINE RANGE: The Defendant and the United States understand and

 agree that the Court will determine the applicable Guideline range after reviewing

 the presentence report and considering any evidence or arguments submitted at

 the sentencing hearing. The United States agrees that it will recommend that

 the Court impose a sentence of imprisonment within the applicable Guideline

 range. The Defendant understands that any recommendation made by him or

 the United States is not binding on the Court.            The Defendant further

 understands that he may not withdraw his plea of guilty if the Court rejects any

recommendation.



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       The United States reserves the right to present evidence and argument as

 to what it believes the applicable Guideline range should be and to respond to

 any request for a sentence below the applicable Guideline range.           For the

 purposes of this agreement, the "applicable Guideline range" is the range found

 by the Court by reference to the Sentencing Table at U.S.S.G. § SA based on the

 Defendant's total offense level and criminal history before adjustments, if any,

 are made based on a downward departure, an 18 U.S.C. § 3553(e) sentencing

 factor, or other variance.

       The United States agrees to recommend to the State of Idaho that any

 sentence imposed against Defendant as a result of a parole revocation should

 run concurrent to any federal sentence received in this case.

       H.     STIPULATED OFFENSE LEVEL: It is further understood that in

 connection with the Defendant's plea and sentencing, the United States and the

 Defendant stipulate that the base offense level upon which the Defendant's

 sentence is to be initially calculated, pursuant to U.S.S.G. § 2Bl. l(a)(l) is 7; it

 is further stipulated that pursuant to U.S.S.G. § 2Bl. l(b)(l)(F), the offense level

 should be increased by 10, in that the loss associated with Defendant's count of

 conviction and relevant conduct was more than $150,000.00; it is further

 stipulated that the adjusted offense level is 17 and that the total offense level is

 14, provided Defendant complies with Paragraph E, above, of this Plea

Agreement. The Defendant understands that this stipulation is not binding upon

 the Court. The Defendant further understands that should the Court not follow




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the terms of this stipulation and agreement, he will not be allowed to withdraw

his plea.

      I.     SPECIAL ASSESSMENT: The Defendants agree to remit to the U.S.

Clerk of Court, 400 South Phillips Avenue, Sioux Falls, South Dakota 57104, no

later than two weeks prior to sentencing, a certified or cashier's check payable

to the "U.S. Clerk of Court" in the amount of $100.00, in full satisfaction of the

statutory costs pursuant to 18 U.S.C. § 3013.

      J.     RESTITUTION - AGREEMENT TO PAY:                The Defendant hereby

agrees to use his best efforts to make restitution to identified victims at or before

the sentencing hearing as it relates to the conduct set forth in the Indictment

and this Plea Agreement, pursuant to 18 U .S.C. §§ 3663 and 3663A. Specifically,

as it relates to Defendant, restitution in the amount of $109,450.00 shall be

made payable to Kokarmuit Corporation, a company located in Akiak, Alaska;

restitution in the amount of $90,000.00 shall be made payable to the City of

Ambler, a municipality located in the State of Alaska. The order of restitution

shall be joint and several with the other individuals and company related to

Defendant's case, all being identified in this Plea Agreement's Factual Basis

Statement.

      K.     MONETARY OBLIGATIONS - DEFENDANT'S ONGOING DUTY:                      If

the Defendant does not have sufficient financial resources to immediately satisfy

the financial obligations imposed upon them at sentencing, the Defendant

agrees, if requested by the United States, to promptly execute and return an

executed Authorization to Release Financial Records and Documents, an



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 executed Authorization to Release Tax Returns and Attachments, and an

 executed Financial Statement.     The Defendant understands that this is an

 ongoing duty which continues until such time as payment is remitted in full.

 The Defendant also may be required to furnish the requested information, as

 well as current earnings statements and copies of W-2s, even if the request is

 made after the sentencing proceedings.

       The Defendant agrees to assist the United States in identifying, locating,

 returning, and transferring assets for use in payment of any financial obligations

 imposed as part of the sentence in this case. Defendant also agrees that if he is

 incarcerated, he will participate in the Bureau of Prisons' Inmate Financial

 Responsibility Program during any period of incarceration in order to pay any

 financial obligations ordered by the Court. Defendant agreement to participate

 in the Inmate Financial Responsibility Program does not limit the United States'

 right to pursue collection from other available sources. If there is no period of

 incarceration ordered, the Defendant agrees that payment of any financial

 obligations ordered by the Court shall be a condition of probation.

       L.    RESERVING THE RIGHT TO REBUT OR CLARIFY MITIGATION

 INFORMATION: The United States reserves the right to rebut or clarify matters

 set forth in the presentence investigation report, or raised by the Defendant in

 mitigation of any recommended sentence, with evidence and argument, except

 as otherwise set forth in Paragraph B above.




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       M.      BASIS FOR PLEA OF GUILTY:             The Defendant agrees that the

 statement of facts, signed by the parties and incorporated herein by this

 reference, provides the basis for Defendant's guilty plea in this case, and is a

 true and accurate statement of his actions or omissions with regard to the

 charges to which Defendant is entering a plea, and that the Court may rely

 thereon in determining the basis for each plea of guilty as provided for in this

 Plea Agreement.

       N.      NO FURTHER PROSECUTION: The United States agrees that there

 will be no further federal criminal prosecution of Defendant in the District of

 South Dakota based on the information and evidence now available to the United

 States regarding the Defendant's involvement with the offenses charged in the

 Indictment.

       0.      WAIVER OF SPEEDY TRIAL: The Defendant agrees to waive any

 rights to a speedy trial under either the United States constitution or the Speedy

 Trial Act. This waiver is necessary so that the Court will have the benefit of all

 relevant information at sentencing.

       P.      PARTIES BOUND:      It is further understood and agreed that this

 agreement is limited to the United States Attorney's Office for the District of

 South Dakota, and that this agreement cannot and does not bind other federal,

 state, or local prosecuting authorities.

       Q.      SCOPE OF AGREEMENT:                This agreement shall include any

 attachments, exhibits, or supplements designated by the parties. It is further

 understood and agreed that no additional promises, agreements, or conditions



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 have been entered into other than those set forth in this agreement, and this

 agreement supersedes any earlier or other understanding or agreement.

       R.    WAIVER OF DEFENSES AND APPEAL RIGHTS: Defendant hereby

 waives all defenses and rights to appeal any non-jurisdictional issues.      The

 parties agree that excluded from this waiver is Defendant's right to appeal any

 decision by the Court to depart upward pursuant to the sentencing guidelines

 as well as the length of his sentence for a determination of its substantive

 reasonableness should the Court impose an upward departure or an upward

 variance pursuant to 18 U.S.C. § 3553(a).

                     SUPPLEMENT TO PLEA AGREEMENT

       The United States will file a Supplement to Plea Agreement, which is

 required to be filed in every case in compliance with the Court's Standing Order.




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                                      Sioux Falls,      710 -
                                      Telephone: (605)357-2353
                                      Facsimile: (605)330-4410
                                      E-Mail: jeremy .jehangiri@usdoj.gov
APPROVED:
RONALD A. PARSONS, JR.
United States Attorney
By :

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DENNIS R. HOLMES
Chief, Criminal Division




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